                         IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                     Charlotte Division
                              Case No. 3:22-cv-00138-KDB-DSC

 FRONT ROW MOTORSPORTS INC. et al.,

                               Plaintiffs,

 v.                                                           CONSENT ORDER

 MICHAEL DISEVERIA et al.,

                               Defendants.


         By the agreement of the parties, it is hereby ORDERED that the Motion to Dismiss, or In

the Alternative, to Transfer or Stay (Doc. 10) filed by Defendants Michael DiSeveria and Ronald

C. Devine is WITHDRAWN; and it is further

         ORDERED that Defendants shall file an answer or other responsive pleading under Fed.

R. Civ. P. 12 within twenty-one days following entry of this Order.

         SO ORDERED.
                                     Signed: June 23, 2022




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